UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

UNITED STATES OF AMERICA
upon the relation and for the use of the
TENNESSEE VALLEY AUTHORITY
Plaintiff Case No. 3:23-cv-00639
JURY DEMAND

v.

AN EASEMENTS AND RIGHTS-OF-WAY
OVER 9.97 ACRES OF LAND, MORE OR
LESS AND ADDITIONAL RIGHTS WITH
AND RIGHTS-OF-WAY OVER LAND IN
SUMNER COUNTY, TENNESSEE, and
GREGORY REAL ESTATE, LLC,

A Wyoming limited liability company,

Defendants

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ANSWER TO COMPLAINT

For answer to the Complaint, the Defendant, GREGORY REAL ESTATE, LLC, by and
through its Chief Manager, ODRIC GREGORY, would state as follows:

1. Paragraph 1 does not require a response from this Defendant.

2. Admitted.

3. This Defendant does not have actual personal knowledge of the allegation contained
in paragraph 3 but does not deny the purpose of the taking.

4. This Defendant does not have personal knowledge of the interest taken by the

Tennessee Valley Authority but does not deny same.

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5. The description as contained in Attachment | to the Complaint speaks for itself, and
this Defendant does not deny same.

6. This Defendant would answer the allegations in this paragraph as follows:

(a) This Defendant, GREGORY REAL ESTATE, LLC, is a Wyoming Closed Limited
Liability Company registered and qualified to do business in Tennessee and does own property
as recorded in Record Book 1811, Page 783, in the Register’s Office of Sumner County,
Tennessee.

(b) This Defendant admits the Plaintiffs’ ownership of the permanent easements and
rights-of-way as recorded in Record Book 3653, Page 514, in the Register’s Office of Sumner
County, Tennessee.

(c) Admitted.

7. Paragraph 7 does not require a response from this Defendant.

Respectfully submitted,

s/Philip C. Kelly
Philip C. Kelly (BPR #002382)

Kelly & Smith

125 Public Square

Gallatin, TN 37066

Tel: 615-452-2000, Ext. 210
Fax: 615-451-9011

philipk @kellyandsmithlaw.com

Attorney for Defendant, Gregory Real Estate, LLC

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CERTIFICATE OF SERVICE

 

I hereby certify that the foregoing Answer to Complaint was filed electronically through
the Court’s ECF system on the date shown in the document’s ECF footer. Notice of this filing
will be sent by operation of the Court’s ECF system to all parties as indicated on the electronic
filing receipt. (parties may access this filing through the Court’s ECF system).

A copy of this document is being sent to counsel for the Plaintiff by U.S. mail at the
following address:

James S. Chase

TVA General Counsel’s Office
400 West Summit Hill Drive
Knoxville, TN 37902-1401

s/Philip C. Kelly
Philip C. Kelly (BPR #002381)

Attorney for Defendant: Gregory Real Estate, LLC

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